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11   Attorneys for Plaintiff
12                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
13
                                                   )
14   RICHARD ZEITLIN, UNIFIED DATA                 )
     SERVICES, LLC, COMPLIANCE                     )
15   CONSULTANTS, LLC, and AMERICAN                )
     TECHNOLOGY SERVICES, LLC,                     )
16                                                 )
                    Plaintiffs,                    )
17                                                 )
            v.                                     )        Case No.   2:19-cv-698 -JCM-VCF
18                                                 )
     UNITED STATES FEDERAL TRADE                   )
19   COMMISSION,                                   )   STIPULATION TO EXTEND TIME TO
                                                   )   FILE PROPOSED SCHEDULING ORDER
20                  Defendants.                    )             (First Request)
                                                   )
21

22          Plaintiff Richard Zeitlin (“Zeitlin”), along with the Plaintiff companies set forth in the caption

23   above, (hereinafter the “Plaintiffs”), by and through undersigned counsel of record, files this

24   Stipulation to Extend Time to File Proposed Scheduling Order. This Stipulation is filed pursuant to

25   LR 6-1 and LR 6-2. This is the first request to file an extension of time to file the Joint Proposed

26   Scheduling Order.

27          Defendant Federal Trade Commission filed a motion to dismiss on June 28, 2019. (ECF No.

28   19). By docket order entered that same day, the Court ordered the Parties to submit a Joint Proposed


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     Scheduling Order by August 12, 2019. The Parties need additional time to exchange drafts of the
 2
     proposed scheduling order and confer before filing the joint proposed scheduling order. Therefore, the
 3
     Parties have stipulated to a three-day extension to file the proposed scheduling order, from Monday
 4
     August 12, 2019 to Thursday August 15, 2019.
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 6
                                                           Respectfully submitted by
 7                                                         THE BERNHOFT LAW FIRM, S.C.
 8                                                         _/s/ Thomas E. Kimble_____________
 9                                                         THOMAS E. KIMBLE, ESQ
                                                           Illinois Bar No, 6257935
10                                                         1402 E. Cesar Chavez Street
                                                           Austin, Texas 78702
11                                                         Attorney for Plaintiffs, pro hac vice
12            Dated: August 12, 2019

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     IT IS SO ORDERED:
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15   UNITED STATES MAGISTRATE JUDGE
                  August 13, 2019
16   DATED:
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 1

 2                                             Certificate of Service
 3                 I hereby certify that on August 12, 2019, I electronically filed and served the
 4   foregoing STIPULATION TO EXTEND TIME TO FILE PROPOSED SCHEDULING ORDER
 5
     with the Clerk of the Court for the United States District Court for the District of Nevada using
 6
     the CM/ECF system.
 7

 8                                                        /s/ Thomas E. Kimble
                                                          Thomas E. Kimble
 9                                                        Attorney for Plaintiffs

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